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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 JOHN NAWARA,

                       Plaintiff,

                v.                                    Case No. 17-cv-02393

 COUNTY OF COOK, a unit of local                      Chief Judge Rebecca R. Pallmeyer
 Government; THOMAS DART, in his
 individual and official capacity as Sheriff of
 Cook County, Illinois, KAREN JONES-
 HAYES, MATTHEW BURKE, REBECCA
 REIERSON and WINIFRED SHELBY in their
 individual capacities,

                       Defendants.

         PLAINTIFF’S REPLY IN SUPPORT OF HIS MOTION FOR AWARD OF
                BACKPAY/LOST WAGES AND EQUITABLE RELIEF



                                           JOHN NAWARA

                                           s/ Richard F. Linden
                                           One of Plaintiff’s attorneys



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        1.     THE ADA PROVIDES FOR AN AWARD OF BACK PAY

        Defendant’s contention that the ADA does not permit back pay is unsupported by the facts

and by the law. The jury spoke and returned a verdict in favor of Plaintiff finding that Defendant

violated the ADA. The jury’s verdict establishes that Plaintiff was the victim of unlawful

employment discrimination. Because the jury returned a general verdict, Plaintiff prevailed on both

his claims, i.e., that Defendant violated the ADA by (1) prohibiting him from working unless he

signed unrestricted medical release forms and, (2) by having him submit to an unlawful fitness for

duty evaluation and examination.1

        It is uncontested that Plaintiff was not allowed to work for 311 days from November 18,

2016 until September 26, 2017. For the first 156 days, Plaintiff paid himself by using vacation

days, personal days, sick days, and other time that he had earned throughout his 18 years of service.

For the next 155 days, Plaintiff received no pay at all. Defendant’s response glosses over these

facts and instead advances arguments that have not been recognized by any court—arguments

which would render the ADA toothless.

        “A successful ADA plaintiff is entitled to back pay and attorneys’ fees, which is usually

sufficient incentive to ensure access to the courts.” Defreitas v. United Airlines, Inc., 2020 WL

635970, at *3 (N.D. Ill. Feb. 11, 2020). Employees who prove employment discrimination under

the ADA are presumptively entitled to back pay. Ortega v. Chicago Bd. of Educ., 280 F.Supp.3d

1072 (N.D. Ill. 2017) (back pay award of $430,697 for discharged teacher under the ADA in a case

not involving race, color, religion, sex or national origin discrimination); Arroyo v. Volvo Grp. N.



1
  Although the jury did not find for Plaintiff’s on his claim for emotional distress, the jury was
tasked with two determinations, (1) did the Defendant violate the ADA, and (2) did Plaintiff prove
emotional distress. In the reading of the jury instructions and in the verdict form, the jury was
informed that, depending on their verdict, the Court would determine back pay. As discussed
herein, a violation of the ADA triggers back pay.
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Am., LLC, 2017 WL 2985649, at *4 (N.D. Ill. July 13, 2017) ($141,388.53 back pay award in

ADA case for a discharged employee not involving race, color, religion, sex or national origin

discrimination); see also, Pals v. Schepel Buick & GMC Truck, Inc., 220 F.3d 495 (7th Cir. 2000)

(back pay awarded in ADA action did not count against a maximum award of compensatory

damages under Civil Rights Act of 1991); Quint v. A.E. Staley Mfg. Co., 172 F.3d 1, 15 (1st Cir.

1999) (a prevailing ADA claimant is presumptively entitled to all back pay which would have

accrued from the termination date to the entry of judgment); Vega v. Chicago Park Dist., 351

F.Supp.3d 1078, 1087 (N.D. Ill. 2018), aff’d, 954 F.3d 996 (7th Cir. 2020) (once the jury found

that there has been employment discrimination, there is a presumption that the employee is entitled

to back pay); Stragapede v. City of Evanston, 125 F.Supp.3d 818, 823 (N.D. Ill. 2015) (following

jury verdict on ADA claims involving an FFD and city worker’s termination after being placed on

administrative leave, court awarded $354,070.72 in back pay). The court has broad equitable

discretion to fashion back pay awards to make a plaintiff whole and once the jury finds

employment discrimination, there is a presumption that the employee is entitled to back pay. Id.

       In Ortega v. Chicago Bd. of Educ., supra, following a jury verdict, the court awarded a

teacher $430,697 in back pay under the ADA. The court stated: “Complete relief for a victim of

discrimination generally will include an award of back pay, indeed such an award is presumptively

proper once a violation has been shown.” Id., at 1078. The court summarized the available

remedies under the ADA:

       Back pay and other forms of equitable relief are available in an ADA case, see 42
       U.S.C. § 1981a(a)(2); 42 U.S.C. § 2000e-5(g)(1), but the decision of whether to
       award them is reserved for the trial court. See Pals v. Schepel Buick & GMNC
       Truck, Inc., 220 F.3d 495, 500 (7th Cir. 2000). When making that decision, the trial
       court ‘must respect the findings implied by the jury’s verdict,’ id., but is otherwise
       vested ‘with broad discretion to fashion a remedy for unlawful discrimination,’
       E.E.O.C. v. Ilona of Hungary, Inc., 108 F.3d 1569, 1580 (7th Cir. 1997). The
       guiding principle in exercising that discretion is that the court ‘has not merely the

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       power but the duty to render a decree which will so far as possible eliminate the
       discriminatory effects of the past as well as bar like discrimination in the future.’
       [citation omitted]. ‘And where a legal injury is of an economic character, [t]he
       general rule is, that …[t]he injured party is to be placed, as near as may be, in the
       situation he would have occupied if the wrong had not been committed.’ [citations
       omitted].

Ortega, 280 F.Supp.3d at 1077-78.

       Defendant’s contention that the ADA prohibits an award of back pay is simply false. Not

awarding back pay would circumvent the ADA. First, it would violate the rule and intent of the

ADA to make the victim of discrimination whole. Back pay is required to place Plaintiff in the

same position he would be in, absent the discrimination. Defendant continues to argue that Plaintiff

is responsible for his damages because he refused to participate in its FFD process—a process the

jury found unlawful. The argument is nonsensical because Plaintiff was not required to acquiesce

to Defendant’s unlawful demands and Nawara had the right to seek redress under the ADA.

       Second, a court is duty bound to render a decree which will so far as possible eliminate the

discriminatory effects of the past and deter like discrimination in the future. There must be

consequences for Defendant’s violations of the ADA. Without consequences, Defendant, and other

employers, will have no incentive to refrain from unlawful practices.

       2.      THERE IS NO BASIS FOR DEFENDANT’S CONTENTION THAT THE
               ADA DOES NOT PERMIT BACK PAY BECAUSE NAWARA WAS NOT
               SUSPENDED AND THIS IS NOT A DISCRIMINATION CASE

       Defendant argues that under 42 U.S.C. § 2000e-5(g)(2)(A) Plaintiff is not entitled to back

pay because he was not suspended and because this is not a discrimination case. (Resp., pp. 2-5).

In addition to misreading the statute, Defendant’s argument is fundamentally flawed.

       The first flaw is that this is an employment discrimination case under the ADA. The second

flaw is that the argument directly conflicts with the ADA and well-established precedent, as cited




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in the preceding section, that employees who prove employment discrimination under the ADA

are presumptively entitled to back pay.

       The third flaw is that 42 U.S.C. § 2000e-5(g)(2)(A) was never intended to prohibit an award

of back pay for employment discrimination under the ADA. When Congress enacted the ADA, it

did not create specific statutory remedy provision contained within the ADA. Rather, the ADA

incorporates the remedies available to a plaintiff in a Title VII discrimination action. Ortega, 280

F.Supp.3d at 1077.

       If it is Defendant’s argument that back pay is not available because Plaintiff was not a

victim of race, color, religion, sex, or national origin discrimination, then, there would be no

remedy and/or no make whole relief for many types of discrimination prohibited under the ADA.

Disabilities and handicaps affect everyone across the board. If Defendant’s argument is that

Plaintiff was “not suspended,” the very language of § 2000e-5(g)(2)(A) supports Plaintiff’s claim

for back pay. If Defendant’s argument is that only those people who are suspended based on racial,

religious, sexual or national origin discrimination are entitled to back pay, then employers could

circumvent the ADA by putting different labels on a suspension.

       Statutory language is interpreted in the context in which it is used, not in isolation, but as

part of a whole in relation to the language of surrounding or closely-related statutes, and

reasonably, to avoid absurd or unreasonable results. Wittman v. Koenig, 831 F.3d 416, 422 (7th

Cir. 2016). Defendant’s construction of the ADA, particularly in relation to § 2000e-5(g)(2)(A),

would circumvent and thwart the purpose of the ADA. “District courts have wide discretion to

fashion a complete remedy, which may include injunctive relief, in order to make whole victims

of employment discrimination.” E.E.O.C. v. AutoZone, Inc., 707 F.3d 824, 840 (7th Cir. 2013)

(internal quotations omitted). As noted above, the guiding principle in exercising this discretion is



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to render a decree which will so far as possible eliminate the discriminatory effects of the past, as

well as, bar like discrimination in the future. Albemarle Paper Co. v. Moody, 422 U.S. 405, 418

(1975); Ortega, 280 F.Supp.3d at 1078. The injured party is to be placed, as nearly as possible, in

the situation he would have occupied if the wrong had not been committed. Albemarle, 422 U.S.

418-19; Ortega, 280 F.Supp.3d at 1078.

        Defendant’s construction of the ADA is illogical; it would violate the intent of the statute

and would render the ADA toothless. It would provide an incentive for employers to violate and

circumvent the protections under the ADA. There must be consequences for violations of the

ADA. Equally important, Defendant’s construction of the statute would deny Nawara make-whole

relief. Nawara, through no fault of his own, was not allowed to work for 311 days. For 156 days

he used up accrued benefits, which were never replaced, and for 155 of these days, he received no

pay from Defendant.

        The fourth flaw is Defendant’s argument directly conflicts with the express and

unambiguous language of 42 U.S.C. § 2000e-5(g)(2)(A). The statute does not say what Defendant

claims it says. Defendant’s argument rests on the fact that Plaintiff was not “suspended.” The court

so stated and Plaintiff agrees that he was never suspended. Either Defendant is misreading the

statute and/or it is misrepresenting the meaning of the statute. Removing superfluous language,

the statute reads:

        No order of the court shall require … the payment … of any back pay, if such
        individual was … suspended … for any reason other than discrimination …

42 U.S.C. § 2000e-5(g)(2)(A) (emphasis added).2



2
 In its entirety, the statute reads: “No order of the court shall require the admission or reinstatement
of an individual as a member of a union, or the hiring, reinstatement, or promotion of an individual
as an employee, or the payment to him of any backpay, if such individual was refused admission,
suspended, or expelled, or was refused employment or advancement, or was suspended or
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This does not mean that a person must be suspended in order to be entitled to back pay. If this were

the case, no one in Plaintiff’s position would ever be made whole, despite intentional

discrimination by the employer. This was never the intent of the ADA or 42 U.S.C. § 2000e-

5(g)(2)(A).

        As with all questions of statutory interpretation, the court starts with the text of the statute

to ascertain its plain meaning. United States v. Melvin, 948 F.3d 848, 851 (7th Cir. 2020); Jackson

v. Blitt & Gaines, P.C., 833 F.3d 860, 863 (7th Cir. 2016). If the statutory language’s plain meaning

is unambiguous, the court’s inquiry ends there. Melvin, 948 F.3d at 852. Even under Defendant’s

construction of the statute, the plain and unambiguous language of the statute shows that 42 U.S.C.

§ 2000e-5(g)(2)(A) prohibits back pay if the individual was suspended for reasons other than

discrimination. In this case, because the jury found discrimination and because Plaintiff was not

suspended (as stated by the Court and the Defendant), this purported prohibition has no

application.

        Plaintiff’s counsel may have unartfully used the word “suspension” to describe Plaintiff’s

employment status during the course of the nine-day trial. There is no question that, although

Plaintiff was never suspended, he suffered damages in terms of lost benefits and lost wages.

Defendant’s own documents establish that he was not suspended. Rebecca Reierson’s November

30, 2016 letter to Plaintiff states:

        …The time you have been off of work since 11/18/16 is only authorized if you are
        participating in the FFD process… If [the signed medical releases] are not received
        by [12/5/16], it will be determined that you are not participating in the process and
        your time off of work from 11/18/16 will be unauthorized. Further, you are not
        able to return to work until you have completed the FFD process.




discharged for any reason other than discrimination on account of race, color, religion, sex, or
national origin, in violation of section 2000e-3(a) of this title.”
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(Plaintiff’s Trial Exhibit 5) (emphasis added).

         Ms. Reierson’s February 28, 2017 letter to Plaintiff contains similar language:

         …You were referred for a fitness for duty based on an interaction you had with
         Superintendent Jones in which you were alleged to have acted in an overly
         aggressive and threatening manner…The signed waiver documents given to you on
         November 18, 2016 must be returned to Ms. Shelby by Wednesday, March 8, 2017
         to the FFD evaluation process can proceed… If the forms are not received by
         March 8, 2017, your time off work (November 18, 2016-present) will be
         deemed unauthorized. Further, you are not able to return to work until you have
         completed the FFD process.

(Plaintiff’s Trial Exhibit 7) (emphasis added).3

         The box checked for the reason for Plaintiff’s absence on Defendant’s “Release for Duty

Authorization” dated September 26, 2017, allowing Plaintiff to return to full duty states “Non-

Duty Illness.” (Plaintiff’s Trial Exhibit 21). The release for duty contains a box for “Suspension”

which is not checked. Id. The record establishes that Plaintiff was never suspended and therefore

Defendant is wrong, even under its own construction, that § 2000e-5(g)(2)(A) bars an award of

back pay.

         Defendant makes a bold assertion that “courts in this district and elsewhere confirm that §

2000e-5 does not permit an award of back pay where no discrimination has been alleged or

proved.” (Resp., p. 4). According to the Jury, Nawara proved employment discrimination under

the ADA. This argument also fails because it is dependent on Defendant’s unsustainable

construction of 42 U.S.C. § 2000e-5(g)(2)(A).

         Moreover, the authorities cited by Defendant do not support the claim that Nawara is not

entitled to back pay. Defendant’s reliance on Green v. Joy Cone Co., 278 F.Supp.2d 526 (W.D.



3
  In her February 28, 2017 letter, Reierson’s stated reason for the FFD referral was Plaintiff’s
interaction with Supt. Jones-Hayes. She makes no mention of Plaintiff’s alleged conduct at HR on
November 18, 2016 which provides additional compelling evidence that the FFD referral had
nothing to do with what allegedly occurred at HR.
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Pa. 2003) is misplaced. This Court has already examined Green and found it “unpersuasive.”

(3/28/19 MTD Opinion, p. 11, Doc. 187). The Court discussed differences between the two cases,

including the fact that the cases are governed by different sections of the ADA. Id., at 11-12. Green

involved “pre-offer medical inquiries,” which are covered by 42 U.S.C.A. § 12112(d)(2)(A), as

opposed to 42 U.S.C.A. § 12112(d)(4)(A), which applies to employees.

         Green, a job applicant, filed a class action alleging that the employer violated the ADA in its

job application process. Included in the application materials was an authorization to allow access to

the applicant’s medical records. Green, 278 F.Supp.2d at 529. Green alleged a per se violation of the

ADA’s prohibition against “pre-offer” medical inquiries. Id. at 530. The medical release form,

however, made clear that a medical inquiry would take place only after an offer of employment, which

is expressly authorized under the ADA. Id.

         The Green court granted summary judgment to the employer based on Green’s failure to

establish an injury-in-fact, causation, and lack of standing. Id. The Green Court stated that “[i]n

accordance with 42 U.S.C. § 2000e-5(g)(2)(A), the Court generally may not order the grant of

back pay to an individual who was refused employment … for any reason other than

discrimination.” Id. at 544. Thus, Green is readily distinguishable from this case and provides no

support for Defendant’s claim that the ADA prohibits back pay for Nawara.

         Defendant asks the Court to “see” Diaz v. Kraft Foods Global, Inc., 2013 U.S. LEXIS

22296 (N.D. Ill. 2013)4 for the unsupported claim that “Courts in this district and elsewhere

confirm that § 2000e-5 does not permit an award of back pay where no discrimination has been

alleged or proved.” (Resp., p. 4). First, this statement does not apply here because Nawara in fact

proved employment discrimination under the ADA. Second, Diaz lends no support to Defendant’s




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    The February 19, 2013 Diaz order is not available on Westlaw.
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argument that Nawara is not entitled to back pay. Diaz is not even an ADA case. The Diaz plaintiffs

alleged Kraft violated Title VII for refusing to hire them as technicians because they were

Hispanic. They did not allege that they applied for the position. The Court held that plaintiffs can

obtain an award of back pay, only if they proved that Kraft would have hired them as technicians.

Unlike Green and Diaz, this is not a refusal to hire case, and these cases provide no support to

deny Nawara back pay.

       Defendant’s reliance on Henderson v. Borough of Baldwin, 2017 WL 6371361 (W.D. Pa.

12/13/2017) is equally misplaced. Henderson dealt with a police officer who applied for a

promotion to lieutenant. Two other police officers received the promotion, both of whom, were

more qualified than the plaintiff. The court found a “technical violation” of the ADA by

“conducting a pre-promotion medical examination” in violation of § 12112(d). The court ruled

that there was no factual basis, from which, it could reasonably infer that the defendant’s decision

to promote the other officers was “causally related to the medical examinations that plaintiff took

and passed.” Id. at *3. Plaintiff’s claims failed because he could not demonstrate a cognizable

injury in fact from the violation and that it was a legal and proximate cause. Id.

       In short, there is no basis for Defendant’s claim that 42 U.S.C. § 2000e-5(g)(2)(A) prohibits

an award of back pay. Defendant’s argument is directly at odds with decades of well-established

precedent and common sense.

       3.      SEVENTH CIRCUIT CASE LAW DOES NOT PRECLUDE BACK PAY

       Defendant fails to cite any authority supporting its claim that Seventh Circuit case law bars

back pay (Resp., pp. 5-9). Hertzberg v. SRAM Corp., 261 F.3d 651 (7th Cir. 2001) is inapposite

and did not even involve the ADA. Hertzberg sued her former employer for sexual harassment and

retaliatory discharge under Title VII. The plaintiff claimed that she was subjected to a hostile work



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environment and retaliated against after she complained about sexual harassment. Her complaint

did not include a discriminatory discharge claim, and constructive discharge was not submitted to

the jury or proven. Id. at 656-57.

       The court noted that a victim of discrimination that leaves his or her employment as a result

of the discrimination must show either an actual or constructive discharge in order to receive the

equitable remedy of reinstatement, or back and front pay. Id. at 659. The Seventh Circuit held that

the requirement that a plaintiff establish a discriminatory discharge for lost pay precluded such a

recovery for Hertzberg. Id. at 660. Her failure to plead or prove that she had been constructively

discharged prevented a lost pay award. Id.

       Hertzberg is not relevant to the claims herein. The Seventh Circuit explained the

application of Hertzberg in E.E.O.C. v. Costco Wholesale Corp., 903 F.3d 618, 628 (7th Cir. 2018),

where it stated:

       The district court misinterpreted our precedent, however, when it stated that
       backpay is unavailable to remedy wages lost during unpaid leave. The district court
       reached that conclusion based on Hertzberg v. SRAM Corp., which holds that ‘[a]
       victim of discrimination [who] leaves his or her employment must show either an
       actual or constructive discharge in order to receive the equitable remedy of
       [backpay].’

       Hrobowski v. Henderson, 2000 WL 6822673 (N.D. Ill. May 24, 2000) is not analogous to

the case at bar. Hrobowski is a failure to accommodate a disability case under the Rehabilitation

Act (29 U.S.C. §§ 706. 794). The employer’s right to demand that the employee undergo an FFD

was not disputed. Id. at *1. As the court stated that “the real issue here is whether Defendant’s

obligation to make an accommodation to Plaintiff’s alleged disability required some other action

in response to her refusal to sign the purported release.” Id. at *4. In denying defendant’s motion

for summary judgment, the court rejected “Plaintiff’s implicit suggestion that she is necessarily

entitled to back pay for any period of time during which she was on unpaid leave while negotiating

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with the Postal Service concerning the medical release.” Id. at *5. It noted that “[t]here is no

suggestion of any bad faith in the Postal Service’s request that Plaintiff undergo a fitness-for-duty

examination.” Id.

        Unlike Hrobowski, this is not a failure to accommodate case or a case under the

Rehabilitation Act. Also, unlike Hrobowski, a jury in this case found that the Sheriff’s Office acted

in bad faith when it found it guilty of unlawful employment discrimination under the ADA. Finally,

the court in Hrobowski merely stated that the plaintiff was not necessarily entitled to back pay

during the time she was on unpaid leave—it did not find that Hrobowski was not entitled to back

pay. Id. at *5.

        Here, in defiance of the jury verdict, Defendant asserts: “Nawara’s authorized leave—

which allowed him to collect pay—was due to his own actions, not some discriminatory conduct

by his employer. And that leave was extended by several months, again by his own choices.”

(Resp., pp. 7-8). Defendant cannot ignore that it was found to have engaged in unlawful

discrimination under the ADA. Nawara was not required to accede to Defendant’s unlawful

demands to sign unrestricted medical releases and submit to an FFD. Nawara was unlawfully

prevented from working for 311 days through no fault of his own.

        4.        NAWARA PROVIDED SUFFICIENT PROOF FOR EQUITABLE RELIEF

        Defendant offers no evidence to dispute the make-whole relief sought by Nawara. Plaintiff

testified that he lost money from November 18, 2016 to September 26, 2017. He testified that from

November 18, 2016 to April 25, 2017, he used his earned benefit time including vacation days,

personal days and sick days in order to get paid. Plaintiff offered unrebutted testimony that in

2016, his yearly salary was $75,394.49. Nawara testified that the money lost is equal to his yearly

salary divided by 365 days and multiplied by 311 days, which equals $64,240.23.



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        Defendant chose not to call its payroll witness(es) listed in the final pretrial order (Doc.

248-4) to dispute Nawara’s lost earnings, or the fact that he was forced to use his benefit time

including vacation time, sick time, personal days, etc. for 156 days, and that he received no pay

for another 155 days.

        The fact that Nawara used payroll records produced by Defendant to refresh his

recollection as to his exact salary in 2016 does not undermine his testimony. Federal Rule of

Evidence 612 codifies the settled doctrine for writings used to refresh the recollection of a witness

while testifying. Wheeling-Pittsburgh Steel Corp. v. Underwriters Labs., Inc., 81 F.R.D. 8, 10

(N.D. Ill. 1978). In addition, defense counsel did not object to Nawara refreshing his recollection

and hence waived any objection.

        It is appropriate to use the most recent payroll records to establish back pay. See Gracia v.

Sigmatron Int'l, Inc., 130 F.Supp.3d 1249, 1257 (N.D. Ill. 2015), aff'd, 842 F.3d 1010 (7th Cir.

2016). Once a plaintiff has established the amount of damages he or she claims resulted from the

employer's conduct, the burden shifts to the defendant to show that the plaintiff failed to mitigate

damages or that damages were in fact less than the plaintiff asserts. Hutchison, 42 F.3d at 1044.

This Defendant did not do.

    a. The Equitable Relief Requested would place Nawara in the Same Position
       but for the Discrimination

        As is set forth in the instant motion, where the legal injury is of an economic character, the

general rule is, that the injured party is to be placed, as near as may be, in the situation he or she would

have occupied if the wrong had not been committed. Albemarle Paper Co., 422 U.S. at 418-19; Ortega,

280 F.Supp.3d at 1078. A court is vested with broad discretion to fashion a complete remedy for

unlawful discrimination. E.E.O.C. v. Ilona of Hungary, Inc., 108 F.3d 1569, 1580 (7th Cir. 1997).




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“Complete relief for a victim of discrimination generally will include an award of back pay; indeed,

such an award is presumptively proper once a violation has been shown.” Id.

         When faced with “uncertainty which clouds the task” of computing a back pay award, the

Seventh Circuit has “set down three general rules: (1) unrealistic exactitude is not required; (2)

ambiguities in what an employee ... would have earned but for discrimination should be resolved

against the discriminating employer; [and] (3) the district court, far closer to the facts of the case

than [the Court of Appeals] can ever be, must be granted wide discretion in resolving ambiguities.”

Stewart v. Gen. Motors Corp., 542 F.2d 445, 452 (7th Cir. 1976); Ortega, 280 F.Supp.3d at 1092-

93. The calculation of back pay is not an exact science. Thompson v. Altheimer & Gray, 2001 WL

1618717, at *2.

         Nawara’s back pay for the period of April 25, 2017 to September 26, 2017 is a simple

calculation for the time he did not receive any compensation from Defendant. This amount totals

$32,016.84 (155 days at $206.56 per day).5 Defendant is wrong that expert testimony is required

for pension or any other contributions/deductions. All that is needed is for Defendant to issue a

normal payroll check for the $32,016.84 which would include all the necessary deductions and

contributions to the pension. Defendant, under the Court’s equitable powers, should be required to

make its corresponding pension contributions.




5
  Plaintiff asserts that no amounts should be deducted from a back pay award. Defendant failed to
plead a set-off and has waived the same. In addition, “interim earnings” includes the earnings from
jobs that “could not have been worked” had no discrimination occurred. Chesser v. State of Ill.,
895 F.2d 330, 338 (7th Cir. 1990). In 2017, Plaintiff worked secondary employment as a security
guard and at Amazon. His gross wages from secondary employment totaled $4,715.57
(Defendant’s Ex. 58). The $12,831.70 (Form 1099-R), page 1 of Ex. 58 represents withdrawals
from Plaintiff’s retirement/investment account and not wages. No evidence was introduced to
support the claim that Plaintiff could not have worked these jobs had no discrimination occurred.


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       For the period of November 18, 2016 to April 24, 2017, the simplest way to make Nawara

whole is to order Defendant to restore all of Nawara’s benefit time. If this cannot be done, a

money/back pay award should be awarded for this time frame. The back pay for this time period totals

$32,223.39 (156 days multiplied by $206.56). Reierson testified that that when employees leave the

Sheriff’s Office, they get paid for vacation and compensatory time. Defendant did not offer any

evidence that the benefit time Plaintiff was forced to use should have a lesser value.

       Defendant’s assertion that Nawara waived any right to seek an injunction restoring time

and benefits is without merit. Nawara’s revised Schedule G Itemized Damages includes: “A

permanent injunction enjoining Defendant to restore Plaintiff to the position where he would have

been absent Defendant’s wrongdoing, including restoration of benefits and seniority.” (Doc. 272).

The revised schedule also lists: “All benefits Plaintiff would have received but for the

discrimination, including prejudgment interest.” Id. These same items were also included in

Nawara’s original Schedule G (Doc. 248-7).

       Nawara’s revised Schedule G lists lost earnings of $64,653.36 (Doc. 272). This figure

should be $64,240.23 because the Schedule inadvertently used 313 days instead of the 311 days,

in which, Nawara was off work. Thus, Defendant’s waiver argument is unfounded.

       Further, if the Court deems it necessary, it can take additional evidence on the issue of

equitable relief. Courts have routinely held such hearings. See, Ortega, 280 F.Supp.3d at 1077;

Stragapede v. City of Evanston, 125 F.Supp.3d 818, 821 (N.D. Ill. 2015).

       5.      DEFENDANT’S MITIGATION ARGUMENT FAILS

       The burden of proving lack of mitigation is on the employer. E.E.O.C. v. Ilona of Hungary,

Inc., 108 F.3d 1569, 1581 (7th Cir. 1997); Ortega v. Chicago Bd. of Educ., 280 F.Supp.3d 1072,

1081 (N.D. Ill. 2017). To prevail on a failure to mitigate defense, Defendant must prove both that

Nawara was not reasonably diligent in seeking other employment, and with the exercise of
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reasonable diligence, there was a reasonable chance that he would have found comparable

employment. U.S. Equal Emp't Opportunity Comm'n v. Gurnee Inn Corp., 914 F.2d 815, 818 (7th

Cir. 1990) (emphasis added); Ortega, 280 F.Supp.3d at 1081.

      a. The Sheriff’s Office Forfeited/Waived the Failure to Mitigate

          Defendant argues that Nawara should be denied back pay for the failure to mitigate his

damages (Resp., pp. 13-14).6 Defendant, however, failed to plead mitigation as an affirmative

defense.7 Defendant’s answer to the second amended complaint contains six (6) affirmative

defenses and the failure to mitigate is not one of them (Doc. 188).

          Failure to mitigate damages is an affirmative defense that must be pled, or it is waived.

Bradford v. Village of Lombard, 2014 WL 4269098, at *3 (N.D. Ill. Aug. 29, 2014), vacated (Jan.

12, 2015); Stanley Gudyka Sales Co. v. Lacy Forest Prods. Co., 1988 WL 102061, at *1 (N.D. Ill.

Sept. 28, 1988). Defendant’s failure to plead mitigation prejudiced Plaintiff. Had Defendant pled

it as an affirmative defense, Nawara would have presented counter evidence. Defendant

waived/forfeited this defense by failing to plead it as an affirmative defense.

      b. Mitigation has No Application Because Nawara was Placed on Leave

          Mitigation has no application to this case because Plaintiff was placed on leave and never

discharged. Plaintiff was on leave for 311 days for the disproven allegation that he failed to

cooperate in Defendant’s FFD process. The general rule is that “a discharged employee must

mitigate damages by using reasonable diligence in finding other suitable employment.”



6
    The failure to mitigate, even if proven, would only reduce Plaintiff’s recovery of back pay.
7
  At page 35 of Doc. 188, Defendant previews, by way of a list, the six affirmative defenses that it
will plead. Number 3 in that list, at page 36, is: “Any damages that Plaintiff could recover must be
eliminated or reduced by his failure to mitigate damages.” Defendant then pleads its affirmative
defenses 1 through 6. It fails, however, to plead mitigation of damages or any facts that form the
basis for that defense. (See, Doc. 188, pp. 36-42).
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Graefenhain v. Pabst Brewing Co., 870 F.2d 1198, 1202 (7th Cir. 1989); see also, Stragapede v.

City of Evanston, 125 F.Supp.3d 818, 824 (N.D. Ill. 2015); Gracia v. Sigmatron Int'l, Inc., 130

F.Supp.3d 1249, 1256 (N.D. Ill. 2015), aff'd, 842 F.3d 1010 (7th Cir. 2016).

       Nawara was never discharged, but instead continued as an employee of the Sheriff’s office

until he was finally allowed back to work. Plaintiff had every reasonable expectation that he would

be allowed to continue his career as a correctional officer. During the 311 days, Nawara tried to

persuade Defendant to drop its demand that he sign unrestricted medical releases and/or submit to

an FFD exam, all in violation of the ADA. Nawara was not required to submit to Defendant’s

unlawful demands. The duty to mitigate did not require Nawara to find alternative employment

because he was still employed by the Sheriff’s Office.

       Chriswell v. Rosewell, 70 Ill.App.3d 320, 324 (1st Dist. 1979) and Fruhling v. Champaign

County, 95 Ill.App.3d 409, 416 (4th Dist. 1981) are instructive on this issue. Both cases hold that

an employee who has been unlawfully suspended is entitled to recover the salary lost during the

period of suspension where the suspending officer is without authority, or having exerted lawful

power, exerts it in a manner in contravention of statute. The cases hold that it is no defense that

the employee has not done the work, because, if the suspension is unlawful, the suspension “is a

mere enforced vacation for which the board must pay him as if he had never been suspended.” Id.

While Officer Nawara was not suspended, the same reasoning applies. Nawara was not permitted

to work in contravention of statute, the ADA.

   c. The Sheriff’s Office Failed to Sustain its Burden of Proving that Nawara failed to
      Mitigate his Damages

       Even assuming arguendo that the Court considers the merits of Defendant’s purported

defense, Defendant failed to sustain its burden of proof at trial. To establish the affirmative defense

of a plaintiff's failure to mitigate damages, Defendant was required to prove that: (1) Nawara failed

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to exercise reasonable diligence to mitigate his damages, and (2) there was a reasonable likelihood

that he might have found comparable work by exercising reasonable diligence. Hutchison v.

Amateur Elec. Supply, Inc., 42 F.3d 1037, 1044 (7th Cir. 1994).

       A wrongfully discharged plaintiff is required to “mitigate damages by using reasonable

diligence in finding other suitable employment.” Graefenhain, 870 F.2d at 1202 (emphasis

added). Thus, a plaintiff is not required to go into another line of work, accept a demotion, or take

a demeaning position. Id.; Stragapede, 125 F.Supp.3d at 825. Plaintiffs need only “seek interim

employment that is substantially equivalent to their previous positions.” N.L.R.B. v. Midwestern

Pers. Servs., Inc., 508 F.3d 418, 423 (7th Cir. 2007); see also U.S. v. City of Chicago, 853 F.2d

572, 578-79 (7th Cir. 1988) (plaintiff in Title VII discrimination case was justified in quitting the

purchasing department to search for a job substantially equivalent to that of police officer).

       Defendant did not prove that Nawara failed to exercise “reasonable diligence” to mitigate

his damages. “Reasonable diligence” does not require a correctional officer, wrongfully placed on

leave and prohibited from working at his job, to search for alternative employment, especially

when he had a reasonable basis to believe that he would be returning to work. Once Nawara’s

earned time ran out after 156 days, during which time, his attorney was trying to persuade

Defendant to drop its demand that he sign medical releases which violated the ADA, he obtained

temporary employment as a security guard and worked for Amazon to make ends meet. Nawara

acted reasonably and Defendant failed to prove that Nawara did not exercise “reasonable

diligence.”

       Defendant also failed to meet its burden of proof on the second issue of whether it was

reasonably likely that Nawara would have obtained another position as a correctional officer. See,

Ortega v. Chicago Bd. of Educ., 280 F.Supp.3d at 1085. The Court can take judicial notice under



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Federal Rule of Evidence 201 that the Cook County Sheriff’s Office was the only employer in

Cook County that employed sworn correctional officers.8 Even though it was Defendant’s burden,

Nawara had no realistic chance at obtaining a job as a correctional officer until he was cleared to

work in September 2017.

         In addition, if Nawara would have secured comparable employment, he would have been

forced to resign from his position with the Sheriff’s Office, where he had worked for 18 years.

This would have meant giving up his pension, other earned benefits, and nullifying 18 years of

seniority. Moreover, common sense dictates that no Sheriff’s Department or law enforcement

agency would have hired Nawara with the allegations hanging over his head about concerns for

his fitness for duty.

         A plaintiff's duty to mitigate does not require him to “go into another line of work, accept

a demotion, or take a demeaning position.” Graefenhain v. Pabst Brewing Co., 870 F.2d 1198,

1202 (7th Cir. 1989); Coleman v. Lane, 949 F.Supp. 604, 608 (N.D. Ill. 1996). Nor does that duty

require the employee to seek employment which is not consonant with his particular skills,

background, and experience or which involves conditions that are substantially more onerous that

his previous position. Id.

         In this case, Defendant did not present any evidence that there were other correctional

officer positions available in which Nawara had a reasonable likelihood of being hired.

Defendant’s failure to offer evidence that comparable employment as a correctional officer was

available to Nawara during the 311-day period dooms its mitigation defense. Gracia v. Sigmatron

Int'l, Inc., 130 F.Supp.3d 1249, 1257 (N.D. Ill. 2015), aff'd, 842 F.3d 1010 (7th Cir. 2016).




8
 Unlike ordinary jail guards, correctional officers with the Sheriff’s Office are sworn Deputy
Sheriffs. Herrera v. Chisox Corp., 1995 WL 599065 (N.D. Ill. Oct. 6, 1995).
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        Brown v. Smith, 827 F.3d 609 (7th Cir. 2016) is closely analogous to this case. The plaintiff

prevailed on his ADA claim after being terminated from his position as a bus driver supervisor.

The defendant argued failure to mitigate by failing to seek any employment at any local transit

company, despite defendant’s admission at oral argument that it had the only bus company in town.

Id., at 616. The Brown Court held that the defendant failed to meet its burden based on its

admission that it was the only bus company in town and noting that it failed to show that any other

transit company was within a reasonable driving distance of plaintiff’s residence. Id.

        The Court must reject Defendant’s assertion that Nawara is not entitled to back pay based

on a failure to mitigate.

                                         CONCLUSION

        In its verdict, the jury spoke decisively: “On plaintiff, John Nawara’s claim that the Cook

County Sheriff's Office violated the Americans with Disabilities Act, we, the jury, find for

plaintiff.” The Defendant cannot escape the fact that it violated the law and John Nawara must be

made whole.

        WHEREFORE, Plaintiff, John Nawara, requests that the Court award back pay, equitable

relief, prejudgment interest and grant him any other relief the Court deems appropriate.

                                              JOHN NAWARA

                                              s/ Richard F. Linden
                                              One of Plaintiff’s attorneys




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